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                                                             i
                       IN THE UNITED STATES DISTRICT ¢OURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                                             !

                              ANDERSON/GREENWOOD DIVIS[ON


UNITED STATES OF AMERICA

              vs                                             I

                                                         CR ~O. 8:19cr00181-DCC-2

DONALD NATHANIEL THOMAS, JR




                                           PLEA

       The defendant, DONALD NATHANIEL THOMAS, JRf having withdrawn his plea of

Not Guilty, pleads GUILTY to Count 1,8 of the   supe~ing indkL

                                                 (S~d~

Spartanburg, South Carolina
September 26, 2019
